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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION


VERNA IP HOLDINGS, LLC,

               Plaintiff,                                     C.A. No. 6:21-cv-00422-ADA

       v.                                                     JURY TRIAL DEMANDED

ALERT MEDIA, INC.,                                               FILED UNDER SEAL

               Defendant.

VERNA IP HOLDINGS, LLC,

               Plaintiff,                                     C.A. No. 6:22-cv-00387-ADA

       v.                                                     JURY TRIAL DEMANDED

ALERT MEDIA, INC.,                                               FILED UNDER SEAL

               Defendant.

               SUPPLEMENTAL DECLARATION OF DAVID B. CONRAD

I, David B. Conrad, declare as follows:

       1.       I am over the age of 21 and fully competent to make this declaration. I have

personal knowledge of the facts stated herein and they are all true and correct.

       2.       This Supplemental Declaration is intended to supplement the Declaration I

provided on March 27, 2023 to include information about additional attorneys’ fees billed to

Alert Media.

       3.       Exhibits 16 and 17 show additional attorneys’ fees incurred leading up to and

while preparing Alert Media’s motion that were billed to Alert Media after its motion was filed.

The hours expended in Exhibits 16 and 17 (as well as the invoices of Exhibits 11 and 12

submitted with my prior declaration) were actually expended on the topics stated, and for the

same reasons set forth in my prior declaration these hours were reasonable and necessary.



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       4.      Alert Media incurred overall $            in attorneys’ fees requested under this

motion for the first case against Alert Media. Alert Media incurred $             in attorneys’

fees requested under this motion for the Second Case against Alert Media. A true and correct

summary table for each case showing the total requested amount of attorneys’ fees billed to

Alert Media in these matters is attached hereto as Exhibits 18 and 19. These attorneys’ fees

figures have been updated from Exhibits 11 and 12.



FURTHER DECLARANT SAYETH NOT.

       I declare, under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing is

true and correct.

Executed May 15, 2023.



                                                     /s/ David B. Conrad
                                                     David B. Conrad




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